
659 S.E.2d 736 (2008)
MORRIS
v.
SUPREME COURT.
No. 260P07-3.
Supreme Court of North Carolina.
March 6, 2008.
Robert Montgomery, Special Deputy Attorney General, for State of NC.
The following order has been entered on the motion filed on the 26th day of November 2007 by Plaintiff for "Notice of Appeal to the Solicitor General of U.S. and U.S. District Court for the middle district of NC and Judicial Standards Commission P.O. Box 1122, Raleigh, NC 27602 for violation of the constitution and failure to docket all the plaintiff record before the courts in this matter and failure for attorneys to response violation by the courts and judges":
"Motion Dismissed by order of the Court in conference this the 6th day of March 2008."
